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                               LINITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                                ATLANTADIVISION

IN RE:                                                )
WANDA ROME WILLIAMS                                   )     CHAPTER   13

DEBTOR(S)                                             )     CASENO. I3.652O3.LRC


                            NOTICE OF DEPOSIT OF LTNCLAIMED FI]NDS

COMES NOW Adam M. Goodman, Chapter 13 Trustee, and files this Notice that he is remitting
to the Registry of the Clerk of the United States Bankruptcy Court the amount of $961.62 on
behalf of Wanda Rome Williams. These funds are being remitted to the Registry because the
debtor(s) has not claimed the funds.




                                                      AdamM.
                                                      Chapter 13 Trustee
                                                      GA Bar No.




                                          CERTIFIC,ATE OF SERVICE

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                                               tr,ir$farv          (o^lr-o)    ,   20r6 served the
Notice of Deposit of Unclaimed Funds by l't class"r
                                                  United States Mail to:


King & King Law LLC
215 Pryor Street SW
Atlanta, GA 30303




                                                      Adam M.
                                                      Chapter 1
